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NEWS

China Everbright’s Disposal
of 49% Share Capital of
Everbright Securities
(International) Limited

August 11, 2016

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Hong Kong — Paul Hastings LLP, a leading global law firm,
announced today that it represented China Everbright
Limited (“China Everbright’) in its US$120 million disposal
of 49% of the share capital of Everbright Securities
(International) Limited to Everbright Securities Financial
Holdings Limited.

China Everbright, a member of state-owned enterprise
China Everbright Group, is a Hong Kong listed
conglomerate focusing on cross-border asset
management and investment.

Paul Hastings has a long term relationship with the client
during which we advised on a number of important

transactions. includina its recent issuance of US$600

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Sing Financial Center. Paul Hastings has also previously
advised China Everbright in its US$114 million disposal of
51% of the share capital of Everbright Securities
(International) Limited in 2011.

The Paul Hastings team was led by corporate partner
Vivian Lam, with support from associates Bonnie Kong,
Jeff Lee, and Matt Li.

At Paul Hastings, our purpose is clear — to help our
clients and people navigate new paths to growth. With a
strong presence throughout Asia, Europe, Latin America,
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